Case 2:18-cv-01497-ODW-SS Document 18 Filed 04/26/18 Page 1 of 2 Page ID #:50

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                                 CASE NUMBER:


 CHRIS LANGER                                                      2:18−cv−01497−ODW−SS
                                                 Plaintiff(s),

          v.
 MAROUN K. BOUTROS, et al.
                                                                   NOTICE TO FILER OF DEFICIENCIES IN
                                               Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         4/24/2018
 Document Number(s):                17
 Title of Document(s):             Stipulation to dismiss WITH prejudice
 ERROR(S) WITH DOCUMENT:

 Case is closed.

 Proposed Document was not submitted as separate attachment.




 Other:

 Court dismissed case previously WITHOUT prejudice. Missing proposed order which should have been
 submitted as a separate attachment. As an alternative, prepare and e−file a formal Notice of Lodging, to be
 docketed only under its specific event: Notice of Lodging, to which the formal proposed order is submitted as
 Separate Attachment thereto.
 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                Clerk, U.S. District Court

 Dated: April 26, 2018                          By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                   Deputy Clerk



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Case  2:18-cv-01497-ODW-SS Document 18 Filed 04/26/18 Page 2 of 2 Page ID #:51
 cc: Assigned District Judge and/or Magistrate Judge

    Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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